

NYCTL 2015-A Trust v Masin (2021 NY Slip Op 01724)





NYCTL 2015-A Trust v Masin


2021 NY Slip Op 01724


Decided on March 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2021

Before: Webber, J.P., Oing, Kennedy, Scarpulla, JJ. 


Index No. 650351/16 Appeal No. 13410N Case No. 2020-02841 

[*1]NYCTL 2015-A Trust, et al., Plaintiffs,
vGeorge G. Masin, Defendant-Respondent, New York City Environmental Control Board, et al., Defendants. Adam Plotch, Non-Party Appellant.


Stern &amp; Stern, New York (Pamela Smith of counsel), for appellant.
Stuart S. Perry, PC, New York (Stuart Perry of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Kathryn E. Freed, J.), entered on or about November 29, 2019, which, inter alia, determined that the foreclosure auction purchaser breached the terms of sale by failing to close by the time of essence date and permitted defendant tax debtor George G. Masin to exercise his right of redemption and satisfy an outstanding tax lien, unanimously dismissed, without costs, as moot.
After Masin's first motion to vacate was denied, plaintiffs discontinued the action, and the judgment of foreclosure and sale was vacated. We take judicial notice of this undisputed fact (see Matter of Travelers Prop. Cas. Co. of Am. v Archibald, 124 AD3d 480, 481 [1st Dept 2015]). The appellant is not a party to this action, and he declined to intervene despite the opportunity to do so. Accordingly, the rights of the parties would not be affected by a determination of this appeal, and the appeal is moot (Reyes v Sequeira, 64 AD3d 500, 505-506 [1st Dept 2009]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2021








